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April 28, 2025


VIA ECF
Hon. Alvin K. Hellerstein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007


Re:         United States v. Charlie Javice and Olivier Amar, 23 Cr. 251 (AKH)

Dear Judge Hellerstein:

       Ms. Javice attaches hereto as exhibits A through O the documents listed below and
discussed in her forthcoming motion for judgment of acquittal and a new trial. The Court
precluded Ms. Javice from entering these exhibits at trial.

      •     Exhibit A:          CJ-0239 (Trial Tr. 2501:12–2507:4)
      •     Exhibit B:          CJ-0380 (Trial Tr. 1183:24–1187:2)
      •     Exhibit C:          CJ-0507 (Trial Tr. 1201:12–1205:1)
      •     Exhibit D:          CJ-2168 (Trial Tr. 2351:23–2356:2; 3151:5 – 3153:4)
      •     Exhibit E:          CJ-1704 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit F:          CJ-1705 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit G:          CJ-1706 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit H:          CJ-1707 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit I:          CJ-1708 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit J:          CJ-1709 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit K:          CJ-1712 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit L:          CJ-1713 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit M:          CJ-1716 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit N:          CJ-1751 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)
      •     Exhibit O:          CJ-1720 (Trial Tr. 3144:8–3151:4; 3183:5–3185:3; ECF No. 351)



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                                          Respectfully submitted,

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cc:   All Counsel of Record




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